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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

BRONCHEE CATHCART,           §
                             §
   Plaintiff,                §
                             §
v.                           §                CIVIL ACTION NO. 3:16-CV-2084-M
                             §
YP ADVERTISING & PUBLISHING, §
LLC,                         §
                             §
   Defendant.



          ORDER ON PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT


       On this, the _______ day of ___________________ 2017, came on to be heard Plaintiff’s

Motion for Summary Judgment. After reviewing the pleadings, the Court finds that the Motion

should be denied as to Plaintiff Cathcart’s claims of retaliation under the Family & Medical

Leave Act, and disability discrimination under Chapter 21 of the Texas Labor Code. As to those

claims, it is hereby ORDERED that P Defendant YP’s Motion for Summary Judgment (Dkt. No.

16) is hereby DENIED.



       So ordered, this _______ day of ____________________ 2017.




                                           ______________________________
                                           Presiding Judge
